Case 17-11213 Doc 835 Filed 03/17/20 Entered 03/17/20 13:16:57 Main Document Page 1 of
                                           12



                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA


   IN RE:                                               )
                                                        )        CASE NO. 17-11213
   FIRST NBC BANK HOLDING COMPANY,                      )
                                                        )        SECTION A
                         DEBTOR.                        )
                                                        )        CHAPTER    11


                           CONDITIONAL OBJECTION TO SECOND
                           MOTION TO INCREASE THE “SOFT CAP”

            Lead Plaintiffs, Oakland County Employees’ Retirement System and Voluntary

   Employees’ Benefit Association, Plymouth County Retirement System, and Central Laborers’

   Pension Fund (“Lead Plaintiffs”), in the federal securities class action captioned Kinzler, et al. v.

   First NBC Bank Holding Company, et al., Appeal No. 17-30443 (5th Cir.), on appeal from Civil

   Action No. 2:16-cv-04243-KDE-JVM (E.D. La.) (the “Securities Class Action”), hereby submit

   this objection to the Motion to Increase the “Soft Cap” Established in the Agreed Order

   Granting, In Part, Motions for Order Finding the Directors and Officers Liability Insurance

   Policy Proceeds are Not Property of the Estate or Alternatively, for Relief from the Automatic

   Stay (R. Doc 325) from $9,000,000 to $12,000,000 [ECF Doc. 830] (the “Second Motion to

   Increase Soft Cap”) filed on behalf of William D. Aaron, Jr., Herbert Anderson, Jr., Dale

   Atkins, John C. Calhoun, William Carrouche, Leander J. Foley, III, John F. French, Leon

   Giorgio, Jr., Grish Roy Pandit, Shivan Govindan, Lawrence Blake Jones, Louis Lauricella, Mark

   Merlo, Hermann, Moyse, III, James Roddy, Dr .Charles Teamer, Sr., Joseph Toomy, Richard M.

   Wilkinson, David W. Anderson, Marsha Crowle, Mary Beth Verdigets and Ashton J. Ryan (the

   “D&Os”) requesting an additional increase in the soft cap of $5,000,000 originally established in

   the Agreed Order Granting, In part, Motions for an Order Finding that Directors and Officers
Case 17-11213 Doc 835 Filed 03/17/20 Entered 03/17/20 13:16:57 Main Document Page 2 of
                                           12



   Liability Insurance Policy Proceeds are not Property of the Estate, or, Alternatively, for Relief

   from the Automatic Stay [ECF Doc. 325] entered on and which was previously increased from

   $5,000,000 to $9,000,000 pursuant to a prior motion [ECF Doc. 506] and an Order entered on

   March 14, 2019 [ECF Doc. 531].

                                        SUMMARY OF OBJECTION

           The so-called “soft cap” should not be increased unless (i) the Order modifying the “soft

   cap” also imposes appropriate measures to ensure that there are controls or limits with respect to

   future defenses costs paid under the “soft cap” in relation to the on-going proceedings and/or a

   disclosed strategy bringing those on-going proceedings to a resolution; and (ii) there is an equal

   set aside of insurance policy proceeds for the potential benefit to all claimants to such proceeds,

   including the Securities Class Action’s Lead Plaintiffs, on behalf of the proposed class.

                                                 BACKGROUND

           The Securities Class Action1 was commenced by the filing of a complaint on May 4,

   2016, against First NBC Bank Holding Company (“First NBC” or the “Debtor”), Ashton J.

   Ryan (“Ryan”), and Mary Beth Verdigets (“Verdigets”). On August 26, 2016, Lead Plaintiffs

   were appointed to lead the prosecution of the Securities Class Action pursuant to the Private

   Securities Litigation Reform Act of 1995. On December 5, 2016, on behalf of themselves and

   other purchasers of First NBC common stock during the period from May 10, 2013 through

   October 20, 2016 (the “Class”), Lead Plaintiffs filed Lead Plaintiffs’ Amended Complaint for

   Violations of the Federal Securities Laws (the “Securities Class Action Complaint”) against the

   First NBC, Ryan, Verdigets, and Ernst & Young LLP, which served as First NBC’s outside

   auditor. Specifically, the Securities Class Action Complaint sets forth three claims for relief:


   1
    The Securities Class Action is acknowledged and identified in the Disclosure Statement as “Pending Litigation” at
   page 21 of the Disclosure Statement. See ECF Doc. 390 at page 24 of 100.

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Case 17-11213 Doc 835 Filed 03/17/20 Entered 03/17/20 13:16:57 Main Document Page 3 of
                                           12



   (1) for violations of Section 10(b) of the Securities Exchange Act of 1934 and Rule 10b-5

   promulgated thereunder against the Debtor, Ryan, and Verdigets; (2) for violations of Section

   10(b) of the Securities Exchange Act of 1934 and Rule 10b-5 against Ernst & Young LLP; and

   (3) for violations of Section 20(a) of the Securities Exchange Act of 1934 against Ryan and

   Verdigets.2

           After briefing and oral argument, the U.S. District Court for the Eastern District of

   Louisiana granted the motions filed by the defendants in the Securities Class Action to dismiss

   the Securities Class Action Complaint and entered a Judgment of dismissal on May 11, 2017.

   Lead Plaintiffs filed a timely Notice of Appeal to the United States Court of Appeals for the Fifth

   Circuit on May 24, 2017. The Clerk of the U.S. Court of Appeals for the Fifth Circuit entered a

   briefing schedule for the appeal on June 21, 2017. However, after the Debtor filed a suggestion

   of bankruptcy later that day, the Clerk, on June 22, 2017, entered a stay of the appeal and

   suspended all briefing of the appeal pending disposition of First NBC’s bankruptcy proceedings.

           In these proceedings, Ryan and Verdigets and others filed motions for relief from the

   automatic stay seeking, inter alia, declarations that certain directors and officers liability

   insurance policies (“D&O Policies”) and the proceeds of the D&O Policies were not property of

   the Debtor’s bankruptcy estate.3 With respect to those various motions, on January 26, 2018 this

   Court entered the Agreed Order Granting, In Part, Motions for an Order Finding that Directors

   and Officers Liability Insurance Policy Proceeds are not Property of the Estate or, Alternatively,

   for Relief from the Automatic Stay (“Agreed Order”) and specifically provided that nothing

   therein constituted a finding that the D&O Policies were property of the Debtor’s estate or a

   2
     A complete copy of the Securities Class Action Complaint is attached as Exhibit 1 to the Consolidated Response of
   Lead Plaintiffs in Federal Securities Class Action to Motions of Ashton J. Ryan and Mary Beth Verdigets for an
   Order for Relief from the Automatic Stay and Other Relief, Filed July 14, 2017 and July 26, 2017. See ECF Doc. 85-
   1.
   3
     See ECF Doc. 62 at pages 7 through 10, ECF Doc. 70 at page 4, ECF Doc. 178, 185, 224, and 244.

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Case 17-11213 Doc 835 Filed 03/17/20 Entered 03/17/20 13:16:57 Main Document Page 4 of
                                           12



   finding regarding the applicability of the automatic stay to the proceeds of the D&O Policies.4

   The Agreed Order also imposed a $5 million “soft cap” on the use of D&O Policies’ proceeds.5

   Finally, the Agreed Order also included a quarterly obligation for counsel for the D&Os to

   submit summaries of the defense costs incurred and to be paid subject to the “soft cap” but those

   summaries do not include any disclosure of the work actually performed or the status of or

   events occurring in relation to the on-going proceedings.6

           On February 8, 2019, the D&Os, filed a motion before this Court seeking to increase the

   previously agreed-upon soft cap from $5 million to $9 million.7 The Lead Plaintiffs submitted a

   conditional objection to that motion and urged the Court to establish a set aside in an amount

   equal to the requested increase to be reserved for claimants.8 The Court granted the motion to

   increase the “soft cap” and overruled the Lead Plaintiffs’ conditional objection and made no

   changes to the quarterly reporting requirements established in the original Agreed Order.9

                                         CONDITIONAL OBJECTION

           The Lead Plaintiffs do not oppose the use of the remaining portion of the existing “soft

   cap” to pay costs of the mediator and similar costs associated with the scheduled mediation.

   However, further defense costs of the D&Os should not be paid from the proceeds of the

   available insurance policies unless there are controls and/or limits on future defenses costs or the

   D&Os put forward an enforceable strategy to bring the on-going proceedings to a resolution. The

   D&Os have not demonstrated that there is any strategy to do so and the fee burn rate also




   4
     ECF Doc. 325 at page 3.
   5
     Id.
   6
     ECF Doc. 325 at ¶ 4 at pages 3 and 4.
   7
     ECF Doc. 506 at page 1.
   8
     ECF Doc. 517.
   9
     ECF Doc. 531.

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Case 17-11213 Doc 835 Filed 03/17/20 Entered 03/17/20 13:16:57 Main Document Page 5 of
                                           12



   indicates that there is no concern for controlling the defense costs in these matters which are

   diminishing the funds available for recovery by claimants.

           One of the chief goals of the bankruptcy court is to fairly administer the proceedings and

   distribute assets.10 The proceeds of the D&O Policies are likely to be significantly less than the

   amounts due to all claimants. Thus, in fairness and to protect the interests of all claimants to the

   proceeds of the D&O Policies, if the Court determines that the soft cap should be increased by $3

   million for the benefit of the D&Os, then the Court should impose new controls and limits on the

   use of the “soft cap” funds or future increases and request that an equal $3 million be set aside

   from the D&O Policies’ proceeds for use in connection with all claimants’ claims to the

   proceeds, including, Lead Plaintiffs’ claims on behalf of the Class, against Ryan and Verdigets in

   the Securities Class Action. Further, if the soft cap is increased again in the future, then the set

   aside should be increased in an equal amount.

           WHEREFORE, the Lead Plaintiffs (a) conditionally object to any increase in the soft

   cap unless there is a demonstration by the D&Os that they have an enforceable strategy for

   bringing the on-going proceedings to a resolution and/or to control and limit D&Os defense costs

   to be paid under the increased “soft cap” and a corresponding set aside in an equal amount for

   use in connection with all claimants’ claims to the proceeds, including Lead Plaintiffs’ claims on

   behalf of the Class against Ryan and Verdigets in the Securities Class Action; (b) request that if

   the Court increases the soft cap by $3 million as requested by the D&Os, then the Court order

   that $3 million be set aside from the D&O Policies’ proceeds for use in connection with all

   claimants’ claims to the proceeds, including Lead Plaintiffs’ claims on behalf of the Class

   against Ryan and Verdigets in the Securities Class Action; (c) request that future increases in the


   10
     See In re Hinsley, 2003 WL 21356015, at *3 (5th Cir. 2003) (recognizing that one of the bankruptcy court’s
   responsibilities is to “achieve a fair and equitable distribution of assets to the creditors”).

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Case 17-11213 Doc 835 Filed 03/17/20 Entered 03/17/20 13:16:57 Main Document Page 6 of
                                           12



   soft cap be accompanied by an equal increase in the set aside for use in connection with all

   claimants’ claims to the proceeds, including Lead Plaintiffs’ claims on behalf of the Class

   against Ryan and Verdigets in the Securities Class Action; and (d) further request that this Court

   grant such other and further relief as may be just and proper.

                                                 Respectfully submitted,

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                                                 Lead Counsel for the Lead Plaintiffs
                                                 in the Securities Class Action


                                   CERTIFICATE OF SERVICE

           I hereby certify that a true and correct copy of the foregoing has been served upon parties
   identified below via the Court’s CM/ECF System this 17th day of March 2020.

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          Serajul Ferdows Ali on behalf of Interested Party United States of
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Case 17-11213 Doc 835 Filed 03/17/20 Entered 03/17/20 13:16:57 Main Document Page 7 of
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                                               7
Case 17-11213 Doc 835 Filed 03/17/20 Entered 03/17/20 13:16:57 Main Document Page 8 of
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Case 17-11213 Doc 835 Filed 03/17/20 Entered 03/17/20 13:16:57 Main Document Page 9 of
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Case 17-11213 Doc 835 Filed 03/17/20 Entered 03/17/20 13:16:57 Main Document Page 10 of
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Case 17-11213 Doc 835 Filed 03/17/20 Entered 03/17/20 13:16:57 Main Document Page 11 of
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Case 17-11213 Doc 835 Filed 03/17/20 Entered 03/17/20 13:16:57 Main Document Page 12 of
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